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                                  UNITED STATES DISTRICT COURT
  9                              CENTRAL DISTRICT OF CALIFORNIA
 10
 11      Rafael Arroyo, Jr.,                          Case: 2:18-cv-06338-PSG-GJS
 12                 Plaintiff,
                                                      Plaintiff’s Opposition to the
 13         v.                                        Application for Stay and Early
                                                      Mediation
 14
 15      A & G Interprises, LLC, a
         California Limited Liability
 16      Company;
         Carmen Rosas; and Does 1-10,
 17
                    Defendants.
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 22           Defendant Carmen Rosas has filed an application for stay and early
 23    mediation. Plaintiff opposes the defense request for stay and early mediation. While
 24    the plaintiff is in favor of early settlement, the defendant has filed this motion
 25    without setting it for a hearing date. The defendant has also failed to meet and confer
 26    as required under Local Rule 7-3 or to provide the certification of meeting of
 27    counsel.
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  1           The Central District requires a meet and confer with opposing counsel before
  2    filing a motion. L.R. 7-3 requires the moving party to contact opposing counsel to
  3    discuss the substance of the contemplated motion and any potential resolution.
  4    Failure to strictly comply with L.R. 7-3 can prove fatal, and several Central District
  5    judges have summarily denied motions on this basis.
  6           Rule 7-3 applies to virtually all motions. The rule requires that:
  7
            [C]ounsel contemplating the filing of any motion shall first contact
  8         opposing counsel to discuss thoroughly, preferably in person, the
            substance of the contemplated motion and any potential resolution. If the
  9         proposed motion is one which under the F.R. Civ. P. must be filed within
            a specified period of time . . . then this conference shall take place at least
 10         five (5) days prior to the last day for filing the motion; otherwise, the
            conference shall take place at least ten (10) days prior to the filing of the
 11         motion. If the parties are unable to reach a resolution which eliminates
            the necessity for a hearing, counsel for the moving party shall include in
 12         the notice of motion a statement to the following effect: “This motion is
            made following the conference of counsel pursuant to L.R. 7-3 which
 13         took place on (date).”
 14
 15           The theory behind meet and confer requirements is sound, and compliance
 16    should not be difficult. A pre-filing conference is designed “to encourage the parties
 17    to work out their differences informally so as to avoid the necessity for a formal
 18    order…” McElhaney v. Cessna Aircraft Co., 134 Cal. App. 3d 285, 289 (1982).
 19    Such conferences “lessen the burden on the court and reduce the unnecessary
 20    expenditure of resources by litigants through promotion of informal, extrajudicial
 21    resolution of discovery disputes.” Townsend v. Superior Court, 61 Cal. App. 4th
 22    1431, 1435 (1998). Describing the purpose of the federal court rule, one court
 23    stated, “The purpose of the conference requirement is to promote a frank exchange
 24    between counsel to resolve issues by agreement of to at least narrow and focus the
 25    matters in controversy before judicial resolution is sought.” Dondi Properties Corp.
 26    v. Commerce Savs. & Loan Ass’n, 121 F.R.D.284 (N.D. Tex. 1988).
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  1           For these reasons, the plaintiff opposes the Application for Stay and Early
  2    Mediation. The defendant’s application for stay and early mediation should be
  3    denied for failure to follow Local Rule 7-3.
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  5    Dated: September 4, 2018                  CENTER FOR DISABILITY ACCESS
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                                                 By:    /s/ Chris Carson
  8
                                                       CHRIS CARSON
  9                                                    Attorneys for Plaintiff
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